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      United States Court of Appeals
          for the Federal Circuit
                       ______________________

          ROY LYNN MCCUTCHEN, PADUCAH
       SHOOTER'S SUPPLY, INC., INDIVIDUALLY
      AND ON BEHALF OF ALL OTHERS SIMILARLY
                     SITUATED,
                 Plaintiffs-Appellants

                                 v.

                         UNITED STATES,
                         Defendant-Appellee
                       ______________________

                             2020-1188
                       ______________________

        Appeal from the United States Court of Federal Claims
    in No. 1:18-cv-01965-EDK, Judge Elaine Kaplan.
                     ______________________

                            MANDATE
                       ______________________

        In accordance with the judgment of this Court, entered
    October 1, 2021, and pursuant to Rule 41 of the Federal
    Rules of Appellate Procedure, the formal mandate is
    hereby issued.

                                      FOR THE COURT

    February 9, 2022
         Date                         /s/ Peter R. Marksteiner
                                      Peter R. Marksteiner
                                      Clerk of Court
